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GL #                   Dealer   Amt Outstanding 03/13/2021
15000-1010             1                         $22,004.00
15000-1015             2                         $37,090.00
15000-1019             3                          $6,850.00
15000-1020             4                         $61,950.00
15000-1030             5                         $28,955.00
15000-1060             6                         $21,784.00
15000-1085             7                         $38,766.00
15000-1090             8                          $7,600.00
15000-1100             9                          $3,764.00
15000-1110             10                        $39,614.00
15000-1125             11                       $309,887.00
15000-1130             12                        $17,534.00
15000-1135             13                        $11,917.00
15000-1150             14                       $747,313.00
15000-1165             15                         $5,820.00
15000-1180             16                        $19,539.00
15000-1181             17                         $1,535.00
15000-1182             18                        $41,838.00
15000-1185             19                       $132,800.25
15000-1192             20                        $43,326.00
15000-1200             21                       $211,952.00
15000-1211             22                        $27,130.00
15000-1215             23                       $104,106.00
15000-1217             24                        $36,295.00
15000-1250             25                        $27,575.00
15000-1255             26                         $6,997.00
15000-1275             27                        $18,171.00
15000-1277             28                        $39,388.00
15000-1295             29                       $196,372.00
15000-1300             30                        $36,803.00
15000-1305             31                         $7,825.00
15000-1310             32                         $3,520.00
15000-1315             33                       $246,166.00
15000-1335             34                       $227,613.30
15000-1340             35                       $526,117.00
15000-1375             36                        $83,867.00
15000-1380             37                       $176,953.00
15000-1395             38                       $529,117.00
15000-1445             39                        $38,902.00
15000-1447             40                        $31,797.00
15000-1450             41                       $151,787.00
15000-1452             42                       $209,820.00
15000-1480             43                         $8,329.00
15000-1485             44                        $55,683.00
15000-1505             45                        $18,022.00
15000-1515             46                        $51,847.00
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GL #                   Dealer   Amt Outstanding 03/13/2021
15000-1540             47                        $61,586.60
15000-1560             48                        $58,653.00
15000-1565             49                        $48,103.00
15000-1570             50                        $14,350.00
15000-1575             51                       $448,777.00
15000-1605             52                        $67,829.00
15000-1615             53                        $17,820.00
15000-1620             54                        $17,645.00
15000-1640             55                        $22,661.00
15000-1650             56                        $60,941.00
15000-1655             57                       $184,588.00
15000-1675             58                       $134,124.00
15000-1690             59                             $0.00
15000-1700             60                           $103.00
15000-1715             61                        $43,630.00
15000-1720             62                        $68,834.00
15000-1725             63                        $70,461.00
15000-1732             64                        $27,110.00
15000-1735             65                       $166,720.00
15000-1742             66                        $46,745.00
15000-1755             67                        $63,337.00
15000-1765             68                        $92,116.00
15000-1790             69                       $175,668.00
15000-1795             70                        $27,477.00
15000-1800             71                       $172,345.00
15000-1835             72                        $67,898.00
15000-1850             73                             $0.00
15000-1855             74                        $29,192.00
15000-1885             75                     $1,321,240.09
15000-1890             76                       $547,682.91
15000-1895             77                        $80,846.00
15000-1900             78                         $9,075.00
15000-1905             79                        $47,295.00
15000-1910             80                        $33,525.00
15000-1957             81                        $33,139.00
15000-1970             82                       $202,297.00
15000-1975             83                        $51,145.00
15000-1985             84                         $7,760.00
15000-2000             85                         $1,725.00
15000-2020             86                        $40,543.00
15000-2025             87                        $73,740.00
15000-2032             88                        $64,535.00
15000-2035             89                        $25,632.00
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GL #                   Dealer   Amt Outstanding 03/13/2021
                                              $9,400,934.15
